           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 1 of 39
                                                                                 1


11:20:15    1                      UNITED STATES DISTRICT COURT

            2                     WESTERN DISTRICT OF NEW YORK

            3

            4

            5   - - - - - - - - - - - - - - X
                CARLOS A. SANTIAGO          )             14CV6719
            6                    Plaintiff )
                vs.
            7                                          Rochester, New York
                CITY OF ROCHESTER, ET AL    )            July 22, 2021
            8               Defendant.                      2:00 p.m.
                - - - - - - - - - - - - - - X
            9   STATUS CONFERENCE

           10
                                  TRANSCRIPT OF PROCEEDINGS
           11              BEFORE THE HONORABLE MARK W. PEDERSEN
                                UNITED STATES MAGISTRATE JUDGE
           12

           13                       CARLOS A. SANTIAGO, pro se
                                    71 Hillview Drive
           14                       Rochester, New York 14622
                                         -and-
           15                       MELISSA LAFFREDO, pro se

           16                       CHRISTOPHER NOONE, ESQ.
                                    City of Rochester
           17                       Law Department
                                    City Hall, Room 400-A
           18                       30 Church Street
                                    Rochester, NY 14614-1295
           19
                                    CHRISTOPHER F. DEFRANCESCO, ESQ.
           20                       Smith, Sovik, Kendrick & Sugnet, P.C.
                                    250 South Clinton Street, Suite 600
           21                       Syracuse, NY 13202-1252

           22                       MARIE ELIZABETH RODI, ESQ.
                                    Monroe County Department of Law
           23                       39 West Main Street
                                    Rochester, NY 14614
           24
                COURT REPORTER: Karen J. Clark, Official Court Reporter
           25                   Karenclark1013@AOL.com
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 2 of 39
                                                                                      2


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

            2
                                       P R O C E E D I N G S
            3
                                        *          *           *
            4

09:08:00    5

09:08:00    6

14:11:03    7                  THE CLERK:     We are on the record.         This is

11:20:16    8   the matter of case numbers 14CV6719; Santiago verses the

11:20:23    9   City of Rochester, et al; 19CV6859, Santiago, et al

11:20:31   10   versus the City of Rochester Police Department, et al;

11:20:35   11   and 19CV6860, Santiago et al versus City of Rochester

11:20:35   12   Police Department, et al.

11:20:52   13                  MAGISTRATE JUDGE PEDERSEN:          Good.    So do I

11:20:53   14   have in the courtroom Mr. Noone?

11:20:55   15                  MR. NOONE:     Yes, your Honor.

11:20:56   16                  MAGISTRATE JUDGE PEDERSEN:          Good morning.

11:20:57   17                  MR. NOONE:     Good morning.

11:20:58   18                  MAGISTRATE JUDGE PEDERSEN:

11:21:05   19                  MR. DEFRANCESCO:        Chris DeFrancesco on

11:21:07   20   behalf of Nurse Odel.

11:21:09   21                  MAGISTRATE JUDGE PEDERSEN:          Welcome, Mr.

11:21:09   22   DeFrancesco.

11:21:15   23                  MS. RODI:     Marie Rodi on behalf of Monroe

11:21:18   24   County.

11:21:18   25                  MAGISTRATE JUDGE PEDERSEN:          Marie Rodi.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 3 of 39
                                                                                         3


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:21:21    2   I've seen you before.        Sorry I didn't recognize you and

11:21:45    3   you're just on one case?

11:21:48    4                  MS. LAFFREDO:      Melissa Laffredo.

11:21:49    5                  MAGISTRATE JUDGE PEDERSEN:          Ms. Laffredo, I

11:21:51    6   do not see you in any of the cases on my --

11:21:54    7                  THE CLERK:     Your Honor, she is listed in

11:21:56    8   cases 19CV6860 and 6859.

11:22:04    9                  MAGISTRATE JUDGE PEDERSEN:          6860 and 6859.

11:22:09   10   Could you spell the name for me, please?

11:22:18   11                  MR. SANTIAGO:      Carl Santiago.

11:22:19   12                  MAGISTRATE JUDGE PEDERSEN:          Mr. Santiago,

11:22:20   13   you are the Plaintiff, so that is easy.

11:22:23   14                  Melissa, could you spell your last name for

11:22:25   15   me?

11:22:30   16                  MS. LAFFREDO:      L-a-f-f-r-e-d-o.

11:22:30   17                  MAGISTRATE JUDGE PEDERSEN:          I'm sorry, yes,

11:22:31   18   you're in here.      You're one of the Plaintiffs.

11:22:34   19                  MS. LAFFREDO:      Yes.

11:22:39   20                  THE CLERK:     I'm sorry.      To anyone that has a

11:22:41   21   speaking role, pull the microphone back to you.                  So if

11:22:46   22   any court reporter has to take this down, they are free

11:22:50   23   standing.

11:22:51   24                  MAGISTRATE JUDGE PEDERSEN:          This is the case

11:22:52   25   where we tried to do a scheduling conference, but your
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 4 of 39
                                                                                     4


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:22:55    2   babysitter was late and I guess she has cataracts and

11:22:58    3   she is still driving?

11:23:00    4                  MS. LAFFREDO:      No, she had surgery and she

11:23:02    5   is doing better.

11:23:03    6                  Now.     That was in between when she had her

11:23:07    7   first eye done, when she had both eyes done and the

11:23:10    8   light is very blinding to her.            She had to pull over

11:23:14    9   several times.        We did arrive, but, obviously, you had

11:23:18   10   closed court for the day, but we're here today.

11:23:22   11                  MAGISTRATE JUDGE PEDERSEN:          Your attorney,

11:23:23   12   Mr. Davenport, has been relieved.

11:23:25   13                  MS. LAFFREDO:      Yes.

11:23:27   14                  MAGISTRATE JUDGE PEDERSEN:          So you two are

11:23:28   15   proceeding, pro se?

11:23:29   16                  MS. LAFFREDO:      Yes.

11:23:29   17                  MAGISTRATE JUDGE PEDERSEN:          Our purpose

11:23:31   18   today is to get this case on track, especially the case

11:23:34   19   from 2014.

11:23:35   20                  MS. LAFFREDO:      Yes.

11:23:36   21                  MAGISTRATE JUDGE PEDERSEN:          Let's deal with

11:23:37   22   that case first.        The scheduling dates on that date have

11:23:40   23   all expired because the discovery was supposed to be

11:23:44   24   done by -- July 30th of 2021.            Okay.   So that date is

11:23:49   25   still open.     Where do we stand on discovery for the
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 5 of 39
                                                                                    5


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:23:53    2   Santiago versus Shawn Jordan, et al, 14CV6719?

11:24:02    3                  MS. LAFFREDO:      I believe we put in, we had,

11:24:09    4   from what I recall, all of the discovery was put in for

11:24:12    5   both sides.     I'm not sure that they received anything

11:24:20    6   for what we had from our side, and, however, Carlos did

11:24:27    7   adhere to the scheduling order, so if there is anything,

11:24:31    8   we would like to hear of it today.

11:24:34    9                  MAGISTRATE JUDGE PEDERSEN:          Who would like

11:24:35   10   to go first on the defense side?

11:24:37   11                  MR. NOONE:     I will.     When we discussed the

11:24:40   12   scheduling before, at one point Judge Geraci issued the

11:24:46   13   decision on Motion for Summary Judgment that struck

11:24:49   14   everything except for excessive force and one other

11:24:53   15   element, maybe the qualified immunity with regard to the

11:24:57   16   arrest that occurred back in 2013.            So some of the

11:25:00   17   discovery demands that were served by counsel when he

11:25:04   18   represented Mr. Santiago had to do with, among other

11:25:10   19   things, a Monell claim, and some of the other things

11:25:14   20   stricken from the complaint.          What I was going to do is

11:25:18   21   take a look at what is left and make a determination as

11:25:21   22   to what to supply, some things have something to do with

11:25:26   23   the remaining issues in the case.           It's more

11:25:29   24   streamlined.     I don't believe depositions were conducted

11:25:33   25   yet.   This case took a while to get off the ground.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 6 of 39
                                                                                      6


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:25:38    2   This case involved motions before even me.              I think we

11:25:41    3   need to have a scheduling order that would encompass all

11:25:44    4   of the developments here, all of the items through

11:25:50    5   dispositive motions.

11:25:52    6                  MAGISTRATE JUDGE PEDERSEN:          So redo the

11:25:54    7   whole thing?

11:25:55    8                  MR. NOONE:     Yes.

11:25:55    9                  MAGISTRATE JUDGE PEDERSEN:          And you're on

11:25:56   10   all three cases, so I assume that applies, the other two

11:26:00   11   have not had dispositive motions, have they?

11:26:04   12                  MR. NOONE:     6860 did.     We don't have a

11:26:09   13   decision from Judge Geraci.          It was the same type of

11:26:12   14   motion.     My sense is we'll be left with the same type of

11:26:16   15   thing we were left with the 2014 case.             We're waiting to

11:26:20   16   see what the decision is there to produce to see what

11:26:25   17   would be relevant and what would not be.             The 6859 case,

11:26:59   18   we haven't been able to do much on that, either.

11:27:02   19   Counsel's motion to withdraw stalled things and then I'm

11:27:06   20   also waiting for some information pursuant to a sealing

11:27:09   21   order from the district attorney's office with regard to

11:27:12   22   Mr. Santiago's arrest that day to make a determination

11:27:15   23   as to what to do with regard to that case.              I have a

11:27:18   24   feeling there will be a dispositive motion in that one

11:27:21   25   as well.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 7 of 39
                                                                                           7


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:27:21    2                  MAGISTRATE JUDGE PEDERSEN:          All right.    So

11:27:22    3   let's just start with the 2014 case, which has already

11:27:26    4   had a dispositive motion, and already has what, one or

11:27:29    5   two pending?

11:27:30    6                  MR. NOONE:     Yes.

11:27:31    7                  MAGISTRATE JUDGE PEDERSEN:          So it might be

11:27:34    8   the qualified immunity and excessive force.

11:27:37    9                  MR. NOONE:     Yes.

11:27:37   10                  MAGISTRATE JUDGE PEDERSEN:          So what he is

11:27:41   11   asking you to do, Mr. Santiago and Ms. Laffredo, is

11:27:46   12   revamp the entire schedule for the 2014 case, including

11:27:49   13   all discovery dispositive motions, expert discovery, et

11:27:53   14   cetera.    So let's see.      Can I assume that the initial

11:28:02   15   disclosures have already --

11:28:05   16                  MR. NOONE:     Rule 26s have.

11:28:08   17                  MR. DEFRANCESCO:       Yes, your Honor.

11:28:08   18                  MAGISTRATE JUDGE PEDERSEN:          So what we're

11:28:10   19   really dealing with is factual discovery, including

11:28:13   20   depositions, any further documents, any further

11:28:16   21   depositions.

11:28:23   22                  MS. RODI:     Your Honor, if I may, there have

11:28:35   23   been no initial disclosures on behalf of the County.                  We

11:28:38   24   have a pending 12(c) motion to dismiss.             That has not

11:28:59   25   been briefed at all because it was made on March 28th
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 8 of 39
                                                                                        8


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:29:02    2   and it was made, basically, at the same time the motion

11:29:05    3   to withdraw was made by counsel, so until we had it

11:29:09    4   settled on who was representing Plaintiffs, there has

11:29:31    5   been no briefing.

11:29:32    6                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So that

11:29:33    7   is in the 6759 case.

11:29:44    8                  MS. RODI:     Yes, your Honor.

11:29:45    9                  THE COURT:     Okay, pending 12(c) motion.         Has

11:29:47   10   Judge Geraci put out a schedule for that?

11:29:52   11                  MS. RODI:     I believe there was a schedule

11:29:54   12   put out early on and then the motion to withdraw and

11:29:57   13   then we received no opposition, understandably.

11:30:01   14                  MAGISTRATE JUDGE PEDERSEN:          Let me see if I

11:30:05   15   can find that.      Mr. Bock will probably beat me to it.

11:31:33   16                  THE CLERK:     ECF 114, your Honor.         Text order

11:31:40   17   on 3/28/21:     "Defendant Monroe County filed motion for

11:31:45   18   judgment on the Pleadings, ECF 113.            Plaintiff's

11:31:49   19   response is due on or before 4/23/21.             Defendant may

11:31:52   20   reply on or before 4/30/21.          Once the matter is fully

11:31:53   21   briefed, the Court will review the briefing and

11:31:55   22   determine if oral argument is necessary.             And if so, the

11:31:58   23   Court will notify the parties of the date and time, so

11:32:00   24   ordered."

11:32:01   25                  MAGISTRATE JUDGE PEDERSEN:          And I'm looking
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 9 of 39
                                                                                       9


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:32:03    2   after Mr. Bock's recitation here at the calendar event

11:32:08    3   from April 5th, that was me.          April 5th, letter order,

11:32:13    4   April 5th, April 5th.        Next entry is April 20th, that

11:32:17    5   was me.    April 21, 21, okay.        So anything after what Mr.

11:32:28    6   Bock just read, which was Judge Geraci's briefing

11:32:31    7   schedule of April 5th, is all me, so has nothing to do

11:32:34    8   with the 12(c) motion, so the 12(c) motion has not been

11:32:38    9   responded to.

11:32:39   10                  MS. RODI:     That's correct, your Honor.

11:32:40   11                  MAGISTRATE JUDGE PEDERSEN:          And the

11:32:41   12   Plaintiffs have not requested additional time.               So, the

11:32:44   13   first thing you need to do in the 2014 case is ask Judge

11:32:49   14   Geraci for time to respond to ECF No. 113, which is the

11:32:54   15   motion for judgment on the pleadings by Monroe County

11:32:58   16   filed on March 28, 2021.         Mr. Bock, could you print out

11:33:03   17   a public docket sheet for Plaintiffs on that?

11:33:07   18                  THE CLERK:     Yes.

11:33:08   19                  MS. LAFFREDO:      Also, your Honor, prior to

11:33:13   20   Carlos and I hiring Rupp, Baase and Pfalzgraf firm.               I

11:33:20   21   had put in a motion for all of the cases to be

11:33:22   22   consolidated.      This has been going on for so long and

11:33:26   23   what it's done to our livelihood and both of our

11:33:30   24   well-being and family mentally and emotionally, it's

11:33:34   25   just, it has to come to an end.           And I don't know where
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 10 of 39
                                                                                           10


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:33:38    2   anybody else feels, I would like their feelings on the

11:33:43    3   other side as to how they feel about, you know, doing it

11:33:46    4   all together, because it's just being dragged out for

11:33:50    5   way too long.

11:33:51    6                  MAGISTRATE JUDGE PEDERSEN:          Understood.     I

11:33:53    7   don't see a pending motion for consolidation.

11:33:56    8                  MS. LAFFREDO:       There was never an answer.

11:33:57    9                  MAGISTRATE JUDGE PEDERSEN:          For the 2014

11:33:59   10   case, do you recall such a motion?

11:34:02   11                  MR. NOONE:      I recall, I believe, a letter.

11:34:04   12                  MAGISTRATE JUDGE PEDERSEN:          Could you pull

11:34:05   13   your mike a little closer?

11:34:07   14                  MR. NOONE:      I recall there -- I believe

11:34:09   15   there was a letter that was submitted.             I don't

11:34:12   16   understand that it ever constituted a formal motion.                   I

11:34:16   17   don't know why the 2014 case would be consolidated with

11:34:20   18   the later cases, there is no similarity here.                There is

11:34:24   19   -- one involved a car pursuit and an arrest; the others

11:34:28   20   had to do with neighbor issues with regard to where Ms.

11:34:32   21   Laffredo and Mr. Santiago were residing back in 2018.

11:34:35   22   So, if there is a motion, I would like an opportunity to

11:34:39   23   oppose it.

11:34:40   24                  MAGISTRATE JUDGE PEDERSEN:          Certainly.     Do

11:34:46   25   you recall about what time, Ms. Laffredo, you filed the
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 11 of 39
                                                                                       11


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

11:34:48    2   letter?     Mr. Bock has handed you a print out of the

12:23:30    3   docket sheet of the 2014 case.

12:23:33    4                  MS. LAFFREDO:       Sure.

12:23:38    5                  MAGISTRATE JUDGE PEDERSEN:          Mr. Noone, feel

12:23:41    6   free to pull that mike up closer.             If you prefer to half

12:23:45    7   stand, that's okay.

12:23:47    8                  And, Ms. Laffredo, the only basis for

12:23:50    9   consolidation is because there are similar parties or

12:23:53   10   similar.

12:23:53   11                  MS. LAFFREDO:       So there are several officers

12:23:55   12   that were on scene at the Jordan arrest that were also

12:23:58   13   on scene on mine and Carlos's arrest in October of 2018

12:24:04   14   and the following arrest, also.

12:24:06   15                  MAGISTRATE JUDGE PEDERSEN:          So what I will

12:24:07   16   do is I will ask you to file such a motion formally and

12:24:12   17   I'll set a date for that as well, and then I can

12:24:16   18   consider it and the other side will respond and then we

12:24:19   19   can have an oral argument, if necessary, and I can make

12:24:22   20   a determination.       I'm not sure if it's mine to decide or

12:24:26   21   it's up to the district judge.             In any event, I'll deal

12:24:28   22   with it first.

12:24:29   23                  MS. LAFFREDO:       Thank you.

12:24:30   24                  MAGISTRATE JUDGE PEDERSEN:          All right.     So

12:24:32   25   Mr. Noone since you began this, what do you suggest for
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 12 of 39
                                                                                      12


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

12:24:35    2   a closing date for paper and deposition discovery on the

12:24:39    3   facts?

12:24:40    4                  MR. NOONE:      With regard to the 6719?

12:24:45    5                  MAGISTRATE JUDGE PEDERSEN:          Yes.    The '14

12:24:46    6   case.    And I understand the County of Monroe is going to

12:25:29    7   be difficult because there is the pending 12(c) motion.

12:25:32    8                  MR. NOONE:      Right.

12:25:34    9                  MS. RODI:     Right.     Also, to help Mr. Noone a

12:25:37   10   bit, they, the City Law Department submitted unsealing

12:25:43   11   orders and subpoenas to the district attorney's office

12:25:46   12   in March, and, I apologize, it's the County that has

12:25:49   13   delayed and I will make sure that that request gets

12:25:53   14   fulfilled as soon as possible.

12:25:55   15                  MAGISTRATE JUDGE PEDERSEN:          Thank you.

12:25:56   16                  MS. RODI:     We may need up to -- they have

12:25:58   17   been inundated with subpoenas lately, they may need up

12:26:02   18   to 60 days to get the materials to the law department.

12:26:05   19                  MAGISTRATE JUDGE PEDERSEN:          Okay.    What if

12:26:06   20   we were to say that fact discovery closes at the end of

12:26:11   21   October?     Would that provide enough time and assuming

12:26:16   22   that the 12(c) motion can be decided between now and

12:26:19   23   October, and if it's not, then we have to extend

12:26:23   24   further, and, of course, on your 12(c) motion, Ms. Rodi,

12:26:28   25   would that take care of the entire case against the
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 13 of 39
                                                                                        13


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

12:26:32    2   county if it were granted.

12:26:34    3                  MS. RODI:     Yes, your Honor.

12:26:35    4                  MAGISTRATE JUDGE PEDERSEN:          Okay.     So it

12:26:36    5   sounds like we need to do something separate for the

12:26:39    6   city and for the individual defendant.             And Mr.

12:26:57    7   DeFrancesco, who do you represent?

12:27:03    8                  MR. DEFRANCESCO:       Ms. Odel, your Honor.

12:27:07    9                  MAGISTRATE JUDGE PEDERSEN:          Ms. Odel.      And

12:27:09   10   does Ms. Odel have any pending dispositive motions?

12:27:14   11                  MR. DEFRANCESCO:       She does not.

12:27:15   12                  MAGISTRATE JUDGE PEDERSEN:          Okay.     So for

13:18:11   13   everybody except the County of Monroe, we can set a

13:18:17   14   scheduling order with real dates.            For the County of

13:18:20   15   Monroe, I'll do a springing scheduling order that will

13:18:25   16   spring from decision date.

13:18:26   17                  MS. RODI:     Thank you, your Honor.

13:18:27   18                  MAGISTRATE JUDGE PEDERSEN:          That way there

13:18:28   19   is something in the works in the event Judge Geraci

13:18:32   20   makes his decision, I don't have to call you back again

13:18:35   21   to revise all of the scheduling dates.

13:18:37   22                  MR. NOONE:      Your Honor, would it be possible

13:18:39   23   to have the factual discovery deadline end in mid

13:18:43   24   November?     I'm answering to a higher power.             My wife

13:18:46   25   mentioned we're taking a vacation at the end of October.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 14 of 39
                                                                                       14


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:18:50    2                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So what

13:18:51    3   I'm hoping is this will be the final scheduling order

13:18:54    4   for this case as far as everybody but the County of

13:19:01    5   Monroe goes.      So if we end factual discovery, let's say,

13:19:05    6   the 19th of November, which is the Friday before

13:19:09    7   Thanksgiving week.        So that will be 11/19/21.         Now are

13:19:17    8   the authorizations already provided?             Plaintiff is to

13:19:21    9   provide them by February 12th.

13:19:24   10                  MR. DEFRANCESCO:       We're missing one

13:19:26   11   authorization, your Honor, that we've requested, and I

13:19:44   12   actually brought it with me and intend to confer with

13:19:47   13   Plaintiffs afterwards.

13:19:48   14                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So the

13:19:49   15   authorizations can probably be completed by, let's say,

13:19:54   16   July.    What is today, the 22nd, July 30, just to make

13:20:00   17   sure if there is some discrepancy.            So, Plaintiffs, you

13:20:05   18   understand that he is looking for one more

13:20:08   19   authorization.      If there is a dispute about it, we can

13:20:10   20   resolve that.      Actually, I'm gone that week, so probably

13:20:14   21   August 6th we'll deal with that one then.              If we can, if

13:20:19   22   you two can agree on it by August 6th, no problem, that

13:20:24   23   date will come and go.         If you can't agree, if there is

13:20:27   24   some dispute, you'll have to bring it back to me.                 If

13:20:30   25   you can do that before August 6th, I appreciate it.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 15 of 39
                                                                                          15


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:20:33    2                  MS. LAFFREDO:       Absolutely.

13:20:35    3                  MAGISTRATE JUDGE PEDERSEN:          And we had a

13:20:37    4   separate date here set for the Plaintiff to provide

13:20:40    5   authorizations and interrogatories.            Is there a need for

13:20:43    6   the date for interrogatories any further?              I'm looking

13:20:49    7   at the scheduling order that was issued January 27th of

13:20:53    8   this year.

13:20:58    9                  MR. DEFRANCESCO:       I'm trying to recall, your

13:21:00   10   Honor.     I don't think we have any outstanding

13:21:02   11   interrogatories.       I'll double check that.

13:21:04   12                  MAGISTRATE JUDGE PEDERSEN:          That will be

13:21:05   13   subsumed in factual discovery anyway.

13:21:08   14                  MR. DEFRANCESCO:       Yes.

13:21:09   15                  MAGISTRATE JUDGE PEDERSEN:          So that date

13:21:10   16   there, I'll leave, and I'll cross this out.               Motions to

13:21:13   17   compel discovery.       We will do -- let's do those November

13:21:25   18   5th.     And all factual witness depositions, actually, all

13:21:35   19   depositions and paper discovery is going to be completed

13:21:39   20   November 19th.      Okay.    So that takes care of fact

13:23:36   21   discovery.     Everything finishes November 19th.             The

13:23:40   22   authorization issue, we'll deal with by August 6th.

13:23:44   23   Anything further on fact discovery?

13:23:46   24                  MR. DEFRANCESCO:       No, your Honor.

13:23:48   25                  MAGISTRATE JUDGE PEDERSEN:          All right.       Now
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 16 of 39
                                                                                       16


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:23:49    2   we have identification of experts and expert discovery.

13:23:55    3   Do the Plaintiffs anticipate hiring an expert?

13:23:59    4                  MS. LAFFREDO:       Yes.

13:24:00    5                  MAGISTRATE JUDGE PEDERSEN:          So let's set a

13:24:01    6   date then for expert discovery.           We're heading into the

13:24:05    7   holidays, so is it possible you can identify your expert

13:24:09    8   witness and give a report to the other sides by the end

13:24:13    9   of December?

13:24:16   10                  MS. LAFFREDO:       Yes.

13:24:28   11                  MAGISTRATE JUDGE PEDERSEN:          Okay.    Let's

13:24:29   12   make the Plaintiff's identification of expert and

13:24:32   13   production of report by 12/21/21, that is a Friday.

13:24:37   14   Office will probably be closed, but I assume you'll do

13:24:40   15   it before then.       That means that the Defendant's expert

13:24:44   16   -- can the Defense expert be identified by the end of

13:24:48   17   January, which is a Monday, January 31st, 2022.

13:24:54   18                  MR. DEFRANCESCO:       Yes, your Honor.

13:24:55   19                  MAGISTRATE JUDGE PEDERSEN:          1/31/22.       Now we

13:24:58   20   deal with expert depositions and any further follow up

13:25:01   21   on expert discovery, should I allow a month for that,

13:25:05   22   should I allow two months.          What is your feeling, Mr.

13:25:07   23   Noone?

13:25:08   24                  MR. NOONE:      I would say two, just depending

13:25:10   25   on the nature of the expert.          There may be some
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 17 of 39
                                                                                       17


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:25:13    2   confusion here that things kind of get muddled because

13:25:17    3   there are three cases.         With regard to the Jordan case,

13:25:19    4   it goes back to 2014, involving a car pursuit.                It's a

13:25:26    5   medical expert, it may take some doing to try and get

13:25:30    6   them scheduled after the first of the year may be

13:25:32    7   difficult, but I think two months would probably be

13:25:35    8   adequate.

13:25:35    9                  MR. DEFRANCESCO:       I agree.

13:25:36   10                  MAGISTRATE JUDGE PEDERSEN:          So we'll allow

13:25:37   11   two months for expert discovery, meaning that your

13:25:40   12   reports have already been exchanged, your expert is

13:25:44   13   looking at their report, and your expert is looking at

13:25:47   14   your report, and then you can depose the expert, you can

13:25:52   15   depose theirs and they can depose yours, we'll allow two

13:25:58   16   months.     Sometimes experts are difficult to schedule.

13:26:01   17   That takes us to the end of March.            March 31 is a

13:26:07   18   Thursday.     Now, it usually takes at least 30 days to get

13:26:14   19   deposition transcripts, sometimes longer, and it's less

13:26:17   20   expensive the lesser you give them to complete it.

13:26:21   21   Thirty days is kind of the cut off.            So, if we allow two

13:26:24   22   months for transcripts, then another month for creating

13:26:30   23   dispositive motions, since we've got several parties

13:26:33   24   involved, is that too much time or too little time?

13:26:38   25                  MR. NOONE:      I think it's about right.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 18 of 39
                                                                                     18


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:26:40    2                  MAGISTRATE JUDGE PEDERSEN:          That would bring

13:26:41    3   us to June 30 for dispositive motions.             Okay.    And under

13:26:57    4   Local Rule 7, there is a briefing schedule already set,

13:26:59    5   but if Judge Geraci decides, he can schedule his own

13:27:05    6   briefing schedule with regard to dispositive motions.

13:27:12    7   Okay.

13:27:14    8                  Ms. Rodi, what I'll do then is I'll take

13:27:17    9   those amounts of time, and for the Monday County one say

13:27:21   10   from the date of the decision, assuming that it's a

13:27:25   11   decision that doesn't completely dispose of the case.

13:27:29   12   From the date of that decision, I'll allow X number of

13:27:33   13   days or months for factual discovery and so forth.                Your

13:27:36   14   case might be going on a slightly different track.                Does

13:27:39   15   that confuse stuff for the other two parties?

13:27:45   16                  MR. DEFRANCESCO:       No, your Honor.

13:27:45   17                  MR. NOONE:      No, I don't think so.

13:27:46   18                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So Monroe

13:27:51   19   County, springing scheduling order from date of

13:28:01   20   decision.     Now, the Plaintiffs can help this along by

13:28:07   21   contacting Judge Geraci's Chambers today to get a

13:28:12   22   briefing schedule change if he'll allow it on the 12(c)

13:28:24   23   motion they have pending.          12(c) means they are

13:28:28   24   contending that if you look at your Complaint and you

13:28:31   25   look at their answer, those are enough for you to decide
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 19 of 39
                                                                                    19


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:28:34    2   there is no way this case should go forward against the

13:28:36    3   County of Monroe.       So if Judge Geraci agrees with their

13:28:40    4   position, then he would cut the County of Monroe as a

13:28:44    5   party.     If he doesn't agree, then the County of Monroe

13:28:47    6   goes forward, the date he makes that decision is when

13:28:51    7   we're measuring discovery in that case and we'll allow

13:28:54    8   the same amount of time for that.            Although, maybe he

13:28:58    9   has issued the decision, we'll revisit that if

13:29:01   10   necessary, okay?

13:29:02   11                  MS. LAFFREDO:       So you're asking me to phone

13:29:04   12   Judge Geraci's Chambers and ask him to make a decision

13:29:15   13   on the 12(c) motion by the County?

13:29:20   14                  MAGISTRATE JUDGE PEDERSEN:          Well, they filed

13:29:23   15   their motion, you haven't responded.             If you ask Judge

13:29:27   16   Geraci to please decide it, you're saying, I give up,

13:29:30   17   kill it, kill it all.        So you really want Judge Geraci

13:29:34   18   to allow you some time to respond to the motion, unless

13:29:36   19   you don't want to.

13:29:37   20                  MS. LAFFREDO:       Yes, we will, thank you.

13:29:39   21                  MAGISTRATE JUDGE PEDERSEN:          If you want to

13:29:40   22   respond to the motion, you have to ask him for time to

13:29:43   23   do that.

13:29:44   24                  MS. LAFFREDO:       Okay.

13:29:45   25                  MAGISTRATE JUDGE PEDERSEN:          And if he allows
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 20 of 39
                                                                                   20


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:29:46    2   that, then you respond and he reads the papers and

13:29:49    3   decides if he wants to hear from you orally, and, if

13:29:52    4   not, he'll issue a decision and either grant their

13:30:21    5   motion, which means they are out of the case or deny the

13:30:24    6   motion, which means they stay in or something in

13:30:27    7   between.     Okay?

13:30:28    8                  MS. LAFFREDO:       Okay, yes.

13:30:30    9                  MAGISTRATE JUDGE PEDERSEN:          Okay.    That

13:30:32   10   deals with the 2014 case.          Let's go onto the 6859 case.

13:30:48   11   This is against the city police department, Tyshawn

13:31:12   12   Williams, Joseph Bonnacci, Mary Barnes, Melanie Rivera,

13:31:28   13   Brad Elliot and John Does.

13:31:30   14                  So, Mr. DeFrancesco, are you involved in any

13:31:35   15   of these other cases?

13:31:37   16                  MR. DEFRANCESCO:       I am not, your Honor.

13:31:38   17                  MAGISTRATE JUDGE PEDERSEN:          So unless you

13:31:39   18   want to stay, you're welcome to go.

13:31:42   19                  MR. DEFRANCESCO:       I just want to try and get

13:31:44   20   the authorizations signed and so I'll hang out.

13:31:48   21                  MAGISTRATE JUDGE PEDERSEN:          Why don't you do

13:31:49   22   that, because I don't want to run the clock while you

13:31:54   23   sit here.

13:31:56   24                  MS. RODI:     Your Honor, the County is not

13:32:01   25   involved in the other cases as well.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 21 of 39
                                                                                        21


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:32:05    2                  MAGISTRATE JUDGE PEDERSEN:          You're

13:32:06    3   dismissed.

13:32:09    4                  (Whereupon, there was a break in the

13:32:09    5   proceeding.)

13:32:10    6                  MAGISTRATE JUDGE PEDERSEN:          This is Santiago

13:32:10    7   and we have the cases remaining 19CV6859 and 19CR6860.

13:32:18    8   In the courtroom are Mr. Santiago and Melissa Laffredo

13:32:23    9   and present in the courtroom is also Mr. Noone

13:32:25   10   representing his clients.          The other attorneys have left

13:32:28   11   because their clients don't have a stake in the other

13:32:31   12   two cases.     So, on the 6859 case, we had a scheduling

13:32:41   13   order that was issued January 27th as well, 2020.                 And

13:32:50   14   that closed off.       That was a springing one.           No later

13:32:56   15   than 30 days following the rendering of the decision by

13:33:09   16   Judge Geraci with the pending Rule 12 motion, the

13:33:12   17   parties shall select a mediator and so forth.                Has Judge

13:33:17   18   Geraci made a decision?

13:33:18   19                  MR. NOONE:      On 6859?

13:33:20   20                  MAGISTRATE JUDGE PEDERSEN:          6859.

13:33:21   21                  MR. NOONE:      I don't think there was a motion

13:33:23   22   made in that one.       Ms. Rodi, I think, made reference to

13:33:27   23   the 12(c) motion in the 6719 case.            That was what she

13:33:31   24   was referring to when she mentioned the unsealing orders

13:33:35   25   that I sent over and that suggested that it may take 60
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 22 of 39
                                                                                     22


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:33:38    2   days to have the County respond or the DA's office

13:33:42    3   respond.     So Williams, 6860, the third case is the one

13:33:46    4   where we have a pending motion for summary judgment.              We

13:33:50    5   don't have a decision on yet.

13:33:52    6                  THE COURT:      Okay.    So we'll deal with that

13:33:54    7   one last then.      So as far as 6859 goes, that is ready to

13:33:59    8   go through with discovery?

13:34:01    9                  MR. NOONE:      As soon as we get the unsealing

13:34:04   10   order, yes.      That is what Ms. Rodi was referring to,

13:34:07   11   it's been there since March and they have not had a real

13:34:11   12   opportunity to provide me with documents that I need for

13:34:13   13   that one.

13:34:14   14                  THE COURT:      And there has not been anything

13:34:31   15   issued in that case?

13:34:33   16                  MR. NOONE:      Nothing.

13:34:35   17                  MAGISTRATE JUDGE PEDERSEN:          Not even

13:34:36   18   exchange of discovery?

13:34:38   19                  MR. NOONE:      I'd have to check.       I think

13:34:40   20   there may have been Rule 26 disclosure provided, but I

13:34:44   21   would have to check.        I think there was.

13:34:45   22                  MAGISTRATE JUDGE PEDERSEN:          Plaintiffs, any

13:34:47   23   comment on the 6859 case?

13:34:50   24                  MS. LAFFREDO:       I'd have to go through and

13:34:52   25   look through the records that Chad gave back to us, I'm
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 23 of 39
                                                                                       23


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:34:57    2   not sure.     I thought that was -- I mean, to the best of

13:35:02    3   my knowledge, it was completed.

13:35:04    4                  MAGISTRATE JUDGE PEDERSEN:          What is the "it"

13:35:05    5   that was completed?

13:35:06    6                  MS. LAFFREDO:       The interrogatories, any

13:35:12    7   interrogatories that were asked for, any documentation.

13:35:17    8                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So let's

13:35:18    9   see, this is the one, this is August 22nd, 2018, 2:45

13:35:49   10   p.m. concerning Gary Cook, this case.

13:35:53   11                  MR. NOONE:      No, your Honor.       That is the

13:35:55   12   6860 case.     6859 was from October 16, 2018, it was about

13:36:00   13   2:30 in the afternoon.

13:36:01   14                  MAGISTRATE JUDGE PEDERSEN:          Then this is

13:36:03   15   misfiled.     Hmm, Mr. Bock, could you take a look at --

13:36:08   16   shoot, I lost track of it here.           The system I have, this

13:36:12   17   is the 6859 case file, right?           Yes.   Just a little bit

13:36:18   18   of the Complaint.

13:36:21   19                  THE CLERK:      Certainly, your Honor.

13:36:23   20                  MAGISTRATE JUDGE PEDERSEN:          Just print the

13:36:24   21   whole Complaint, 6859.

13:36:27   22                  THE CLERK:      You'd like the whole Complaint

13:36:29   23   printed?

13:36:29   24                  MAGISTRATE JUDGE PEDERSEN:          How many pages

13:36:31   25   is it?
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 24 of 39
                                                                                    24


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:36:32    2                  THE CLERK:       Still loading.

13:36:34    3                  MR. NOONE:       I may have misspoke.

13:36:36    4                  MS. LAFFREDO:       Your Honor, to the best of my

13:36:38    5   knowledge, there was a scheduling order and the Defense

13:36:43    6   side did not adhere to what the scheduling order was and

13:36:48    7   there was never a response and they did not give any

13:36:51    8   interrogatories or answers to documentation,

13:36:56    9   interrogatories.       And I believe there was -- they asked

13:37:00   10   for an extension and it was denied, so, I mean.

13:37:05   11                  MAGISTRATE JUDGE PEDERSEN:          Okay.    One

13:37:06   12   through eleven, pages one through eleven, Mr. Bock.

13:37:09   13                  MR. NOONE:       I may have misspoke, 59 may be

13:37:13   14   the one from August 28 of 2018.           That is the one where

13:42:15   15   we don't have a decision yet on the summary judgment

13:42:19   16   motion.

13:42:19   17                  MAGISTRATE JUDGE PEDERSEN:          So 59 was the

13:42:20   18   pending one.

13:42:22   19                  MR. NOONE:       Yes, I apologize.      I may have

13:42:25   20   misspoken on that one.

13:42:27   21                  MAGISTRATE JUDGE PEDERSEN:          In that case

13:42:28   22   then, I don't need to change anything because it's all

13:42:31   23   springing, right?       Yeah.     Let's see.

13:42:34   24                  MR. NOONE:       Yeah, that makes sense.

13:42:37   25                  MAGISTRATE JUDGE PEDERSEN:          Except it did
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 25 of 39
                                                                                        25


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:42:39    2   cite some dates for discovery.           Okay.    So some of it,

13:42:45    3   the mediation portion was springing and the rest of it

13:42:53    4   was with firm dates.        I have the Complaint in 6859.

13:43:37    5   Tyson Williams, Joseph Bonnacci, Mary Barnes, other

13:43:42    6   officers, Melanie Rivera.          Excuse me, first claim is

13:43:53    7   August 22nd, 2018 at or about 10:45 p.m. involving Gary

13:44:08    8   Cook arrested for harassment and menacing with a knife

13:44:21    9   threatening Carlos Mia A. Santiago, and the dog, and

13:44:31   10   threatening to bury them in his yard.             Sounds like a

13:44:39   11   delightful neighbor.        So the mediation portion of that

13:44:50   12   scheduling order was set and the rest of it said firm

13:44:55   13   date, and we don't have a decision from Judge Geraci.

13:45:11   14   What will happen is -- it is a partial summary judgment

13:45:14   15   or full?

13:45:15   16                  MR. NOONE:      No, full.

13:45:15   17                  MAGISTRATE JUDGE PEDERSEN:          Okay, full.     So

13:45:17   18   sounds to me like we need to set the rest of it up to

13:45:21   19   spring as well.       What he is saying is that he filed a

13:45:23   20   motion for summary judgment in 6859 with your neighbor,

13:45:28   21   and if Judge Geraci grants that motion, that case is

13:45:31   22   done.    Have you responded to his motion?            You don't

13:45:36   23   know?

13:45:36   24                  MS. LAFFREDO:       I have no idea.

13:45:38   25                  MR. SANTIAGO:       We never heard anything like
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 26 of 39
                                                                                       26


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:45:40    2   that.

13:45:40    3                  MS. LAFFREDO:       I never knew there was a

13:45:42    4   motion for summary judgment.

13:45:46    5                  MAGISTRATE JUDGE PEDERSEN:          Okay.    Mr. Bock,

13:45:49    6   you want to print a docket sheet out?

13:45:52    7                  MR. SANTIAGO:       The attorney we had before

13:45:54    8   did not communicate with us at all, so that is why we

13:45:59    9   had to get rid of him, with all of the other attorneys

13:46:02   10   as well.

13:46:02   11                  MS. LAFFREDO:       And, also, if I may, when

13:46:09   12   Honorable Feldman was presiding before you, he had -- he

13:46:13   13   asked us, too, if we needed representation from the

13:46:17   14   Court, and we said yes.         And what happened was Baase and

13:46:25   15   Pfalzgraf, came into our lives at that point.               However,

13:46:28   16   that is the third set of attorneys that we've had, and,

13:46:34   17   at this point, we really need the Court to appoint an

13:46:40   18   attorney for us.       We're at the point where I can only do

13:46:57   19   so much and I read the federal rules and the local rules

13:47:00   20   so many times and I pull out information and it's very

13:47:04   21   stressful.     I'm only one person.         I can't -- I need

13:47:08   22   somebody who is going to fight for Carlos and myself and

13:47:13   23   fight for what has happened and the violation of his

13:47:18   24   human rights and his civil rights.            It has just

13:47:24   25   continued and continued years and years.              It's a vicious
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 27 of 39
                                                                                   27


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:47:27    2   cycle, and we really need to be represented by somebody

13:47:30    3   that has our best interest at hand.

13:47:34    4                  MAGISTRATE JUDGE PEDERSEN:          Did Judge

13:47:49    5   Feldman assign the Rupp firm?

13:47:51    6                  MS. LAFFREDO:       At that point, I mean, he

13:47:53    7   stepped down.

13:47:54    8                  MR. SANTIAGO:       If you go back to the

13:47:55    9   minutes, go back in the minutes.

13:47:57   10                  MS. LAFFREDO:       He stepped down and he said

13:47:59   11   to do my best and gather as much as I could and do the

13:48:04   12   best that I could and he would address it at a later

13:48:07   13   time and then he stepped down and there was a woman that

13:48:10   14   we worked with in Buffalo, and we asked if she could be

13:48:17   15   -- I had written a document and turned it into the

13:48:20   16   Court, if she could be the representation for Carlos and

13:48:23   17   I.   I had spelled her last name wrong.            It's not Ann

13:48:27   18   Marie Richardson, it's Ann Marie Richards, and she works

13:48:33   19   pro bono for U.S. District Court.            And I asked for her

13:48:57   20   representation.       I had spelled the last name wrong and

13:48:59   21   they said we don't know who that is, she doesn't exist.

13:49:03   22   And that is what I'm asking for.            I'm asking for her

13:49:06   23   representation, if she is still part of the pro bono

13:49:11   24   action.    However, you guys, I don't know if it's

13:49:14   25   considered pro bono if the United States District Court
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 28 of 39
                                                                                       28


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:49:19    2   finds an attorney, but her name is Ann Marie Richmond,

13:49:24    3   not Richardson.

13:49:26    4                  MAGISTRATE JUDGE PEDERSEN:           Okay.   I'm just

13:49:27    5   looking through the docket here.            Okay.    So you were

13:49:53    6   represented by counsel as of May 22, 2020, because Judge

13:49:58    7   Geraci mentions that in his text order, so counsel

13:50:01    8   probably made an appearance prior to that.              Motion for

13:50:07    9   leave to proceed in forma pauperis.            It doesn't look

13:50:11   10   like this was referred to Judge Feldman.              It sat for

13:50:17   11   quite a while.      You were granted --

13:50:21   12                  MS. LAFFREDO:       It was the date that we were

13:50:23   13   in front of Judge Feldman quite some time ago.

13:50:26   14                  MAGISTRATE JUDGE PEDERSEN:           This case was --

13:50:27   15   -- the District Judge Geraci granted in forma pauperis

13:50:32   16   on November 22, 1919.        Ordered you to file an amended

13:50:38   17   Complaint.     You requested extended time to do that and

13:50:41   18   then you filed your amended Complaint, February 13 of

13:50:47   19   2020.    On May 22, 2020 ECF No. 8, if you look at No. 8,

13:51:12   20   "Plaintiffs now represented by counsel filed an amended

13:51:16   21   complaint ECF No. 7:        "Because Plaintiffs are no longer

13:51:29   22   proceeding pro se, the Court is no longer required to

13:51:32   23   screen the amended Complaint, therefore, the Clerk of

13:51:35   24   Court shall issue a summons and shall cause the United

13:51:39   25   States Marshal to serve the Defendants.              So ordered."
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 29 of 39
                                                                                     29


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:51:39    2   Signed by Judge Geraci.         Summons was issued and there

13:51:43    3   was an acknowledgement of service.            Answer was filed

13:51:49    4   July 6th, 2020.       And then on July 7th, 2020, the case

13:51:53    5   was assigned to me because I took office November 6th,

13:51:57    6   2019.    So this particular case was never before Judge

13:52:02    7   Feldman.     And we had a status conference.

13:52:10    8                  MS. LAFFREDO:       Right.    It was prior to all

13:52:11    9   of this happening when we were in front of Judge

13:52:14   10   Feldman, so it was probably --

13:52:15   11                  MAGISTRATE JUDGE PEDERSEN:          Probably on the

13:52:16   12   '14 case.

13:52:17   13                  MS. LAFFREDO:       It was for the '14 case.

13:52:19   14                  MAGISTRATE JUDGE PEDERSEN:          Yeah, probably

13:52:20   15   on the '14 case.       So there is no request for

13:52:23   16   representation in this case.          Is that something you

13:52:26   17   would like to make?

13:52:27   18                  MS. LAFFREDO:       Yes, please.      For all of --

13:52:30   19                  MAGISTRATE JUDGE PEDERSEN:          All of the

13:52:31   20   cases?

13:52:31   21                  MS. LAFFREDO:       Yes.

13:52:32   22                  MAGISTRATE JUDGE PEDERSEN:          So what I

13:52:32   23   suggest what you do is file a motion in each of the

13:52:36   24   cases.     That will probably disrupt the schedule again.

13:52:56   25                  MS. LAFFREDO:       I understand.      We do need
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 30 of 39
                                                                                           30


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:52:58    2   representation, so whatever needs to happen first.

13:53:00    3                  MAGISTRATE JUDGE PEDERSEN:          Let me tell you

13:53:02    4   something off of the record for a moment.

13:53:02    5                  (Whereupon, there was a discussion off the

13:53:06    6   record.)

13:53:06    7                  THE CLERK:      One moment, your Honor.            We are

13:53:10    8   back on the record.

13:53:11    9                  MAGISTRATE JUDGE PEDERSEN:          While off the

13:53:13   10   record, we had a brief discussion about the prior

13:53:27   11   attorney's withdrawal and I informed both Plaintiffs if

13:53:29   12   they wish to make a motion for appointment of counsel

13:53:33   13   pro bono, they may do so in each of these cases, that it

13:53:36   14   may disrupt the schedule that we're putting in place,

13:53:39   15   but so be it.      The only thing I see pending in case No.

13:53:45   16   6859 is a motion filed on October 16th, 2020, docket No.

13:53:52   17   21, and it's titled "Motion to Dismiss for Failure to

13:53:58   18   State a Claim."       Let me make sure that is really what it

13:54:01   19   is.   We're looking at the Notice of Motion signed by Mr.

13:54:04   20   Noone and it's looking for 12(c) relief.              It's not a

13:54:10   21   summary judgment, it's a 12(c).

13:54:12   22                  MR. NOONE:      Yes.

13:54:12   23                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So

13:54:15   24   pending 12(c) motion.        And, Ms. Laffredo, if you read

13:54:20   25   the rules, you understand the difference between Rule 12
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 31 of 39
                                                                                    31


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:54:23    2   and Rule 56?

13:54:43    3                  MS. LAFFREDO:       Yes.

13:54:43    4                  MAGISTRATE JUDGE PEDERSEN:          So this is a

13:54:44    5   Rule 12 motion.       And it doesn't appear to me it's ever

13:54:48    6   been fully briefed.        These cases are a mess schedule

13:54:59    7   wise.     So I'm not sure whether it's worthwhile trying to

13:55:02    8   set a schedule for discovery while we have the 12(c)

13:55:06    9   pending, and we may also have a motion for appointment

13:55:09   10   of counsel.      So, I'm inclined, at this point, Mr. Noone,

13:55:14   11   to let the schedules lapse with the idea that if indeed

13:55:19   12   I do appoint or actually I appoint, at that point, I

13:55:23   13   request the assignment of pro bono counsel from our

13:55:28   14   coordinator in Buffalo and if she can find somebody

13:55:34   15   willing to take on the cases, would that be just for the

13:55:36   16   discovery phase of the case, discovery and motion

13:55:41   17   practice, because it's easier to get a lawyer if I limit

13:55:45   18   the scope of the appointment to pretrial stuff?

13:55:48   19                  MS. LAFFREDO:       Okay.

13:55:49   20                  MAGISTRATE JUDGE PEDERSEN:          And then if we

13:55:51   21   actually get to the trial, then maybe you want to ask me

13:55:54   22   to ask the attorney to stay on if he or she agrees to do

13:56:08   23   so.     And if not, ask for different counsel for the trial

13:56:12   24   phase.

13:56:13   25                  MS. LAFFREDO:       Yes.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 32 of 39
                                                                                         32


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:56:13    2                  MAGISTRATE JUDGE PEDERSEN:          But most cases

13:56:15    3   in Federal Court resolve by settlement between the

13:56:20    4   parties.

13:56:21    5                  MS. LAFFREDO:       Yes.

13:56:22    6                  MAGISTRATE JUDGE PEDERSEN:          And Mr. Noone

13:56:23    7   was telling me before we came back on the record, again,

13:56:26    8   for this case, earlier, that the case that I helped with

13:56:30    9   did resolve a civil case similar to this kind of thing

13:56:33   10   where the police were alleged to have used unlawful

13:56:37   11   force and violated a Plaintiff's right to privacy under

13:56:40   12   the Fourth Amendment.        And that case has revolved with a

13:56:44   13   financial resolution.        That might end up in this case as

13:56:51   14   well, but I think some more discovery has to go first.

13:57:22   15                  MS. LAFFREDO:       Yes.   I honestly don't see us

13:57:24   16   going to trial after all of the discovery has been

13:57:27   17   submitted on both sides.

13:57:28   18                  MAGISTRATE JUDGE PEDERSEN:          It will either

13:57:29   19   resolve, most likely, by motion or by settlement between

13:57:33   20   the parties.

13:57:34   21                  MS. LAFFREDO:       Yes.

13:57:34   22                  MAGISTRATE JUDGE PEDERSEN:          So if we have a

13:57:35   23   lawyer to help organize things to get the discovery

13:57:48   24   finished, I think that may be useful.             So I'm going to

13:57:52   25   leave these two cases without a scheduling order.                 I'll
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 33 of 39
                                                                                     33


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:57:55    2   put a scheduling order on the '14 case, that is so old.

13:57:59    3   And, of course, the schedule may get rejected, but we'll

13:58:02    4   work with that when that happens.

13:58:05    5                  MS. LAFFREDO:       Sounds good.

13:58:06    6                  MAGISTRATE JUDGE PEDERSEN:          If you can file

13:58:06    7   a motion in each of the cases for the assignment of pro

13:58:10    8   bono counsel, I'll act on that.

13:58:11    9                  MS. LAFFREDO:       Absolutely.     And what time

13:58:13   10   frame will you give me to do that?            I can do it ASAP.

13:58:17   11                  MAGISTRATE JUDGE PEDERSEN:          What time frame

13:58:18   12   do you need, because that is the time frame I'm going to

13:58:21   13   give you.     Today is the 22nd of July, I'm gone all next

13:58:25   14   week, so I won't be doing anything on it the next week.

13:58:28   15                  MS. LAFFREDO:       How about the following

13:58:30   16   Friday?     The following Friday after you come back?

13:58:32   17                  MAGISTRATE JUDGE PEDERSEN:          You talking

13:58:33   18   about July 30th, August 6th.          If you file it July 30th,

13:58:39   19   I won't be here, but Mr. Noone gets an opportunity to

13:58:42   20   respond.     Mr. Noone, I'll set a brief schedule that is

13:58:46   21   instead of the full 14 days, I'll give you a week to

13:58:50   22   respond if you even want to.          Generally, Defense Counsel

13:58:53   23   don't reply to motions requesting assignment of pro bono

13:59:13   24   counsel.     In some cases, they probably secretly say,

13:59:29   25   yes, because it makes the case simpler for everybody.
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 34 of 39
                                                                                      34


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

13:59:32    2   Not that you're not adequate to help represent

13:59:35    3   yourselves.      But it's easier when you have somebody that

13:59:38    4   has done this before.

13:59:39    5                  MS. LAFFREDO:       Yes.   I'm not saying that I

13:59:41    6   can't do it, I believe in myself and I've done it this

13:59:44    7   far.

13:59:45    8                  MAGISTRATE JUDGE PEDERSEN:          Yes.

13:59:46    9                  MS. LAFFREDO:       However, sometimes, you know,

13:59:49   10   I question myself, too.

13:59:52   11                  MAGISTRATE JUDGE PEDERSEN:          Certainly.

13:59:52   12                  MS. LAFFREDO:       So if there was somebody who

13:59:54   13   was very familiar with Federal Court.

13:59:59   14                  MAGISTRATE JUDGE PEDERSEN:          Federal civil

14:00:00   15   practice.

14:00:00   16                  MS. LAFFREDO:       And these types of cases to

14:00:02   17   help us along, I would really appreciate that.

14:00:05   18                  MAGISTRATE JUDGE PEDERSEN:          Okay.    So what

14:00:07   19   I'm going to do is give you to July 30th to file your

14:00:12   20   request for appointment of pro bono counsel.               You have

14:00:17   21   to file each of the papers and then I'll give Mr. Noone

14:00:21   22   and the other Defense Counsel to August 6th to respond

14:00:24   23   and I'll issue a decision after August 6th.

14:00:27   24                  Mr. Bock, have you got all of that in your

14:00:29   25   minutes?
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 35 of 39
                                                                                     35


            1              C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

14:00:30    2                  MS. LAFFREDO:       Thank you.

14:00:31    3                  MAGISTRATE JUDGE PEDERSEN:          Okay.    Good.   So

14:00:33    4   for the 59 and 60 cases, we'll leave the scheduling

14:00:40    5   orders as is and let them lapse and deal with your

14:00:45    6   motion for appointment of counsel.            Are there any other

14:00:54    7   issues that we need to discuss?

14:00:56    8                  MR. NOONE:      I'm not aware of any, your

14:00:59    9   Honor, no.

14:00:59   10                  MS. LAFFREDO:       Is it possible for Carlos and

14:01:02   11   I to have a copy of the minutes for today of whatever

14:01:06   12   was spoken on?

14:01:16   13                  THE CLERK:      Are you talking about the

14:01:17   14   transcripts?

14:01:18   15                  MS. LAFFREDO:       Yes.

14:01:19   16                  MAGISTRATE JUDGE PEDERSEN:          That comes at an

14:01:21   17   expense.

14:01:22   18                  THE CLERK:      What you will want to do is

14:01:27   19   after I do the minute entry for all three cases, you're

14:01:33   20   going to contact -- I'll write all of this down for you

14:01:36   21   -- Jane Kellogg in Buffalo, the transcript coordinator,

14:01:40   22   and she will advise you to call on the court reporters

14:01:46   23   to do so and there is a form.

14:01:49   24                  MAGISTRATE JUDGE PEDERSEN:          It's expensive,

14:01:52   25   it's more than a dollar a page.           Do you have any idea
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 36 of 39
                                                                                   36


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

14:01:55    2   what is costs?

14:01:55    3                  MR. NOONE:      I remember requesting them

14:01:59    4   before and I think, your Honor, is correct.

14:02:04    5                  THE COURT:      And if you want it in 30 days.

14:02:09    6                  THE CLERK:      It's based on how many pages it

14:02:11    7   is and how long.

14:02:14    8                  MS. LAFFREDO:       I'll reach out.      As long as I

14:02:16    9   have the information and can proceed with her.

14:02:20   10                  MAGISTRATE JUDGE PEDERSEN:          Is there

14:02:21   11   something that we talked about today that you

14:02:23   12   specifically want to focus on?           His minutes are going to

14:02:26   13   cover what we just set for scheduling and I'll issue the

14:02:31   14   scheduling order in the '14 case?

14:02:35   15                  MR. SANTIAGO:       The reason I ask for it, as I

14:02:37   16   said, the judge before did say he was going to assign us

14:02:43   17   counsel and we had problems.          We could have used it a

14:02:48   18   long time ago.

14:03:04   19                  MS. LAFFREDO:       All of this is for Carlos's

14:03:06   20   record.

14:03:06   21                  MR. SANTIAGO:       The defendant will be paying

14:03:07   22   for it later on.

14:03:10   23                  MAGISTRATE JUDGE PEDERSEN:          The defendant

14:03:11   24   will be paying for necessary costs if you win on the

14:03:14   25   liability issue.       Whether a transcript of today's
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 37 of 39
                                                                                       37


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

14:03:18    2   proceeding is necessary would probably be disputed and

14:03:20    3   then it would be up to the judge who is making the

14:03:24    4   determination to decide if the cost should be passed on.

14:03:26    5                  MS. LAFFREDO:       I definitely would like to

14:03:28    6   request it just for the record.

14:03:29    7                  MAGISTRATE JUDGE PEDERSEN:          It's always

14:03:30    8   going to sit here, so you could request it much later.

14:03:34    9                  MR. SANTIAGO:       Yeah, I could.

14:03:35   10                  MAGISTRATE JUDGE PEDERSEN:          After the case

14:03:36   11   is done, even if you want to.

14:03:40   12                  MR. SANTIAGO:       Not after the case is done.

14:03:42   13                  MAGISTRATE JUDGE PEDERSEN:          I'm trying to

14:03:43   14   save you some money; there is no guarantee.

14:03:47   15                  MS. LAFFREDO:       I don't think it's about the

14:03:50   16   money for Carlos, and I don't mean to interrupt you.

14:04:15   17   Because of everything that has happened to him and the

14:04:18   18   head trauma, he has sever PTSD because of this.                   He

14:04:23   19   doesn't remember things that were said or what was said

14:04:25   20   and to have it right in front of him to refer to, that

14:04:29   21   is what the issue is.        He has short-term memory loss.

14:04:33   22   He suffered mentally, emotionally, psychologically, that

14:04:52   23   is why he wants to have the transcript.

14:04:54   24                  MAGISTRATE JUDGE PEDERSEN:          And you already

14:04:55   25   took care of the release issue on the 2014 case this
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 38 of 39
                                                                                     38


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

14:05:00    2   morning in court?

14:05:01    3                  MS. LAFFREDO:       Yes, Carlos signed the

14:05:03    4   authorization form.        It had to be specific as to what

14:05:05    5   records were given from the Monroe County Jail and it

14:05:08    6   was never determined as to -- it was called primary

14:05:12    7   care, it had to be in front of all of it.              So it's

14:05:16    8   another authorization because it had to state the exact

14:05:19    9   name of where it was coming from Monroe County.

14:05:22   10                  MAGISTRATE JUDGE PEDERSEN:          Yes, very good.

14:05:24   11   From your viewpoint, is there anything else that we need

14:05:26   12   to cover?

14:05:27   13                  MS. LAFFREDO:       Not at this time.       Carlos,

14:05:29   14   anything else that you would like to discuss?

14:05:31   15                  MR. SANTIAGO:       No.   Thank you, your Honor.

14:05:32   16                  THE COURT:      So we're adjourned without a

14:05:34   17   date and I'm looking for your motions and any response

14:05:37   18   that you or the other defendants want to file and then

14:05:40   19   we'll proceed.

14:05:41   20                  MS. LAFFREDO:       Thank you.

14:05:42   21                  MR. SANTIAGO:       Thank you.

14:05:43   22                  MS. LAFFREDO:       Have a very blessed day.

14:05:45   23                  MAGISTRATE JUDGE PEDERSEN:          You too.

           24                                  *    *    *

           25                         CERTIFICATE OF REPORTER
           Case 6:14-cv-06719-FPG-MJP Document 130 Filed 08/21/21 Page 39 of 39
                                                                                  39


            1             C. SANTIAGO VS. CITY OF ROCHESTER, ET AL

            2

            3       I certify that the foregoing is a correct transcript

            4   of the record to the best of my ability of proceedings

            5   transcribed from the audio in the above-entitled matter.

            6

            7   S/ Karen J. Clark,        RPR

14:05:41    8   Official Court Reporter you, your Honor.

14:05:42    9

           10

           11

           12

           13

           14

           15

           16

           17

           18

           19

           20

           21

           22

           23

           24

           25
